Case 8:21 GNrfEDPSYATEs DISTRICT COURT, CENTRALDISTRICT-OF CALIFORNIADE !D #:54

CIVIL COVER SHEET

I. (a) PLAINTIFFS ( Check box if you are representing yourself [_] ) DEFENDANTS = ( Check box if you are representing yourself [__] )

PLAINTIFFS DAVEY'S LOCKER SPORTFISHING, INC., a California corporation; BLUE PACIFIC FISHERIES, a California corporation; | ANV|PLIFY ENERGY CORPORATION, a Delaware corporation, BETA OPERATING

IVAR SOUTHERN and LINDA SOUTHERN, individuals; NEWPORT LANDING SPORTFISHING, INC., a California corporation; SAN °
PEDRO BAIT Co., a California corporation; DONALD C. BROCKMAN, individually and as trustee of the DONALD C, BROCKMAN COMPANY, LLC, a Delaware corporation, and SAN PEDRO BAY PIPELINE COMPANY, a
California corporation

TRUST and Heidi M. Jacques, individually and as trustee of the HEIDI M. BROCKMAN TRUST; GREGORY HEXBERG, individually and
as trustee of THE GREGORY C. AND DEBORAH L. HEXBERG FAMILY TRUST, individually and on behalf of others similarly situated

(b) County of Residence of First Listed Plaintiff Orange, CA
(EXCEPT IN U.S. PLAINTIFF CASES)

 

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

Harris County, TX

 

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Lexi J. Hazam, LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

275 Battery Street, 29th Floor

San Francisco, CA 94111-3339

Telephone: 415-956-1000

 

 

Il. BASIS OF JURISDICTION (Place an X in one box only.) Il, CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
. PTF DEF _ PTF DEF

1. U.S. Government [_] 3. Federal Question (U.S. Citizen of This State [] 1 [J 1 ncorporated or Principal Place 4—]4
Plaintiff Government Not a Party) of Business in this State

Citizen of Another State [7] 2. [[] 2. Incorporated and Principal Place O15 5

US.G D (ind c h of Business in Another State
2. U.S. Government [x] 4: iversity (Indicate Citizenship | Citizen or Subject of a Forei .
: oreign Nation 6 6

Defendant of Parties in Item III) Foreign Country O3 O13 9 Oe

 

 

IV. ORIGIN (Place an X in one box only.)
1. Original 2. Removed from 3. Remanded from
Proceeding O State Court O Appellate Court

8. Multidistrict
Litigation -
Direct File

6. Multidistrict
Litigation -
Transfer

5. Transferred from Another
District (Specify)

4, Reinstated or
Reopened

O O O O

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: [xX] Yes [[] No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: [x]Yes [_]No MONEY DEMANDED IN COMPLAINT: $ in excess of $5,000,000
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

 

Strict Liability under Lempert-Keene-Seastrand Oil Spill Prevention and Response Act, Government Code Section 8670, et seq.; Strict Liability for Ultrahazardous Activities; Violation of the Oil
Pollution Act of 1990, 33 U.S.C. § 2701 et seq.; Negligence; Public Nuisance; Negligent Interference With Prospective Economic Advantage; Trespass; Continuing Private Nuisance

 

VII. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
[J 375 False Claims Act |[_] 110 Insurance 240 Torts to Land Oo 462 Naturalization Habeas Corpus: LJ 820 Copyrights
pplication 463 Alien Detainee
oy 276 Qui Tam (J 120 Marine [1] 245 Tort Product Cl 510 Motions to Vacate |L1 830 Patent
(31 USC 3729(a)) Liability [y 465 Other O otions to Vacate ;
CJ 130 Miller Act [1] 290 All Other Real Immigration Actions Sentence 835 Patent - Abbreviated
Oo 400 State P [] 530 General O New Drug Application
Reapportionment 140 Negotiable roperty TORTS g APP
[J 410 Antitrust C1 instrument TORTS PERSONAL PROPERTY |L] 535 Death Penalty (J 840 Trademark
(J 430 Banks and Banking 150 Recovery of PERSONAL INJURY [J 370 Other Fraud Other: oO 880 Defend Trade Secrets Act
[1 Overpayment & |[[] 310 Airplane __ IL) 540 Mandamus/Other of 2016 (DTSA)
450 Commerce/ICC Enforcement of : (1) 371 Truth in Lending
CI pates/e Judgment Fy 215 Airplane ivil Ri SOCIAL SECURITY
oO 460 Deportation uegmen Product Liability 380 Other Personal {LJ 550 Civil Rights
R ‘i Inf [J 151 Medicare Act ry 320 Assault, Libel & O PropertyDamage —_|[]_555 Prison Condition [J 861 HIA (1395ff)
470 Racketeer Influ- Slander
C enced & Corrupt Org. oO 152 Recovery of O 330 Fed. Employers’ |] Product Liability 560 Civil Detainee LJ 862 Black Lung (923)
480 Consumer Credit Defaulted Student LJ | iabili Conditions of 863 DIWC/DIWW (405 (g))
O 485 Telephone Loan (Excl. Vet.) CO 340 ie BANKRUPTCY Confinement = SSID Title XVI 9
arine itle
C1 consumer Protection Act 153 Recovery of 345 Marine Product |] 422 Appeal 28 FORFEITURE/PENALTY
(1 490 Cable/sat Tv [ Overpaymentof |] Liability erroduc USC 158 625 Drug Related 1] 865 RSI (405 (g))
- Vet. Benefits 423 Withdrawal 28 C1 Seizure of Property 21
850 Securities/Com- | 1 350MotorVehicle [LI Yyscis7 USC 881 FEDERAL TAX SUITS
UL modities/Exchange Cc oo Stockholders 355 Motor Vehicle = oO 690 Other 870 T. (U.S. Plaintiff
uits | CIVIL RIGHTS axes (U.S. Plaintiff or
oO foto Statutory CO product Liability — TGA CI Befendant)
[1 190 Other [7] 360 Other Personal [] 440 Other Civil Rights 871 IRS-Third Party 26 USC
(-] 891 Agricultural Acts Contract Injury [J 441 Voting oO ns Fair Labor Standards|[_] 7699
‘ 195 Contract 362 Personal Injury-
7 £P3 Environmental 11 product Liability [LI] MedMalpratice |] 442Employment | 720 Labor/Mgmt.
895 Freedom of Info. |[-] 196 Franchise 365 Personal Injury- |[7] 443 Housing/ Relations
OO act C1 Product Liability Accommodations | 740 Railway Labor Act
wage REAL PROPERTY 367 Health Care/ 445 American with . .
[1] 896 Arbitration [ 210 Land C7 Pharmaceutical (J Disabilities- oO 751 Family and Medical
899 Admin. Procedures Condemnation Personal Injury Employment Leave Act
oO Act/Review of Appeal of (] 220 Foreclosure Product Liability oO 446 American with oO 790 Other Labor
Agency Decision RentLease& |C] 368 Asbestos Disabilities-Other Litigation
950 Constitutionality of 230 Rent Lease Personal Inju . 791 Employee Ret. Inc.
O State Statutes O Ejectment Product Liabikty [L] 448 Education O Security Act
FOR OFFICE USE ONLY: Case Number:
CV-71 (10/20) CIVIL COVER SHEET Page 1 of 3
Case 8:21 GNifEDPS YATES DISTRICT COURT, CENTRALDISTRICT OF CACIFORNIATE !D #:55

CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

QUESTION A: Was this case removed
from state court?

[] Yes No

If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

STATE CASE WAS PENDING IN THE COUNTY OF:

INITIAL DIVISION IN CACD IS:

 

 

 

[_] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
[] Orange Southern
[] Riverside or San Bernardino Eastern

 

 

 

QUESTION B: Is the United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

[] Yes No

If "no," skip to Question C. If "yes," answer
Question B.1, at right.

B.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question B.2.

 

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

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YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

 

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

[] Yes No

If "no," skip to Question D. If "yes," answer
Question C.1, at right.

C.1. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

—>

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question C.2.

 

 

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.

 

QUESTION D: Location of plaintiffs and defendants?

([] Enter "Western" in response to Question E, below, and continue
from there.
A. B. CG
Riverside or San Los Angeles, Ventura,
Orange County Bernardino County | Santa Barbara, or San

Luis Obispo County

 

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

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Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

apply.)

 

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D.1. Is there at least one answer in Column A?

Yes

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.
Enter "Southern" in response to Question E, below, and continue from there.

If "no," go to question D2 to the right.

[_] No

—

D.2. Is there at least one answer in Column B?

[_] Yes No

If "yes," your case will initially be assigned to the

EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

 

QUESTION E: Initial Division?

INITIAL DIVISION IN CACD

 

Enter the initial division determined by Question A, B,C, or D above: m,-

 

SOUTHERN

 

QUESTION F: Northern Counties?

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

 

[| Yes No

 

CV-71 (10/20)

CIVIL COVER SHEET

Page 2 of 3

 
Case 8:21 GNifEDPSYATES DiS tRICT COURT, CENTRALDISTRICT OF CALIFORNIATE !D #:56

CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [_]| YES

If yes, list case number(s):

 

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

If yes, list case number(s):

[] No YES

8:21-cv-01628; 8:2 1-cv-01658; 8:2 1-cv-01669; 8:21-cv-01680

 

Civil cases are related when they (check all that apply):

A. Arise from the same or a closely related transaction, happening, or event;

B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

| A. Arise from the same or a closely related transaction, happening, or event;

[_] 8. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

 

X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):

/s/ Lexi J. Hazam DATE: October 11, 2021

 

 

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation
861 HIA
862 BL
863 DIWC
863 DIWW
864 SSID
865 RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

CV-71 (10/20)

CIVIL COVER SHEET Page 3 of 3
